            Case 2:22-mj-00428-JAG                 ECF No. 1-3        filed 12/02/22        PageID.25 Page 1 of 1




                                       U NITED STATES DISTRICT COURT
                                                                 for the
                                                          D istrict of Arizona

                   United States of America                       )
                                 V.                               )
                                                                           Case No.        22-4427-MJ-CDB -03
                                                                  )
                                                                  )
                   Moretta Rose Johnson
                           Defendant
                                                                  )

                                                     ARREST WARRANT


To:       Any authorized law enforcement officer
          The Court having determined that probable cause exists for the issuance of an arrest warrant,

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
                           Moretta Rose Johnson
(name ofperson to be arrested)
                           -  - -- - - -- - -- - - -- - -- -- - -- - -- -- -- - - --
who is accused of an offense or violation based on the following document filed with the court:

      Indictment            Superseding Indictment           Information         Superseding Information             X Complaint
      Probation Violation Petition            Supervised Release Violation Petition        Violation Notice               Order of the Court

These offense(s) are briefly described as follows:

Count I: Title 18 U.S.C. § 15 12(c)(2), Obstruction ofJustice
Count 2: Title 18 U.S.C. § 120l(a)(l ) (b) and (c), Kidnapping


                                                                                                        Digitally signed by
                                                                      Camille D.                        Camille D. Bibles
                                                                                                        Dat e: 2022.12.01
Date/time:
                                                                      Bibles                            18:19:28 -07'00'
                                                                                          Issuing officer's signature

                                                                                      HON. CAMILLLE D. BIBLES
City and state:       Flagstaff, Arizona                                              United States Magistrate Judge
                                                                                            Printed name and title


                                                                 Return

          This warrant was received on (date) _ _ _ __ _ _ , and the person was arrested on (date) _ _ __ _ _ __
at (city and state)

Date: _ _ __ _ __ __
                                                                                          Arresting officer's signature



                                                                                             Printed name and title
